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the complexity of exposure patterns and the numerous chemi-                      Exposure assessment
cals used in the rubber production process, disentangling expo-                  Exposure assessment was based on estimates from the EU-EX-
sure-response associations between specific suspected carcinogens                ASRUB database of measurements of compounds in rubber
and cancer risk in this industry remains difficult. Excess mortality             factories in Europe.18 Linear mixed effects models with random
from bladder cancer among rubber workers, particularly those                     factory intercepts were used to estimate average exposure in each
employed before 1950, has been documented in multiple                            year between 1915 and 2000 and build a job-exposure matrix for
studies.2–6 Nevertheless, others found this association only for                 rubber dusts, rubber fumes and N-nitrosamines.19 N-nitrosamines
higher exposures to aromatic amines and not rubber dust.7 An                     included in this study are N-nitrosodimethylamine (NDMA) and
exposure-response relationship between rubber dust and asbestos                  N-nitrosomorpholine (NMor) and N-nitrosamines sum score
with lung cancer mortality was observed in Germany,8 but not                     (NSS), a sum of NDMA, NMor, N-nitrosodibutylamine (NDBA),
in Poland.7 While some studies suggested possible associations                   N-nitrosodiethylamine and N-nitrosopiperidine. Because only job
between lung cancer mortality and N-nitrosamines exposure,9                      information in 1967 was available, the primary analyses assumed
others did not.8 10 11 Excess risk of stomach cancer has been found              all subjects remained in the same factory department (ie, not neces-
among workers early in the production line and in curing where                   sarily in the same job) throughout their careers and were employed
rubber fumes exposure is highest, as well as those exposed to                    until retirement at age 70, death or emigration. Lifetime cumulative
talc.1 Nevertheless, stomach cancer mortality was not associated                 exposures (LCE) to rubber dust, rubber fumes and N-nitrosamines
with higher levels of inhalable aerosols7 or N-nitrosamines.8 10 11              were calculated for each worker based on the assumed number of
Increased risk for leukaemia was associated with benzene and                     years worked and department. Sensitivity analyses using different
butadiene exposures,1 12 but mortality from leukaemia and other                  backcasting assumptions of constant average exposure level from
malignant lymphomas were not associated with inhalable aero-                     the first year of available measurement were shown to have only
sols among male rubber factory workers.7                                         minimal impact on individual cumulative exposure estimates (data
   IARC further reported limited, insufficient or inconsistent                   not shown).
evidence for associations between rubber dust, rubber fumes and
nitrosamines and several cancers.1 Oesophageal cancer mortality                  Statistical methods
was found to have an exposure-response relationship with N-ni-                   To examine the probability of dying from specific causes in a
trosamines exposure.8 Non-statistically significant increases in                 cohort with nearly complete mortality (94.1%), competing risk
brain and prostate cancer mortality were observed with higher                    survival analysis was used to model time to death either from
exposures to N-nitrosamines.8 No evidence of associations                        specific cancers, a competing event (death by another cause) or
between prostate and brain cancer mortality with rubber dust                     censored due to attrition (such as through emigration). Following
were found in the Polish industry.7 The relationship between                     the method by Fine and Gray,20 the current model is specified as:
pancreatic cancer and occupational exposure is unclear; small                             ()              (                       {       })
                                                                                                         P t≤T<t+∆t, D=k|T≥t∪ T<t,D̸=k
increased risks of incidence and mortality have been docu-                             λ∗k t =      lim                   ∆t
mented13–15 but not consistently.7 16 Laryngeal cancer mortality                 	﻿‍               ∆t→0                                      ‍
                                                                                             ∗
                                                                                               ( )                             20
was found in excess in the highest exposure categories of rubber                           ‍ k t ‍is the subdistribution hazard of cause k at time
                                                                                     where λ
dust in Germany,11 but not in Poland.7 Evidence of an expo-                      t, T is time of the first observed event and D is a random variable
sure-response association between liver cancer mortality and                     denoting type of event occurring. Subjects who experienced a
rubber dust was not statistically significant, possibly due to a low             competing event before the event of interest remain in the risk
number of deaths.7 Possible explanations for these discrepancies                 set and are weighted using the inverse probability of censoring
may lie in differences in the industry and chemicals used across                 weighting approach.21 22 This is in contrast to a standard Cox
countries and time periods. Further difficulties include measure-                proportional hazard approach which would consider deaths from
ment error in the assessment of personal exposures over long                     competing risks to be censored and would be removed from the
periods of time.1                                                                risk set. Censoring competing events violates the assumption that
   Previous studies in the British rubber industry have found                    censoring occurred at random and is independent from the risk
similar trends of excess mortality or incidence of cancers of the                of dying from the cause of death of interest, leading to a biased
bladder, particularly before 1949 due to exposures to 1-naph-                    Kaplan-Meier estimator.23 Furthermore, within the context of
thylamine and 2-naphthylamine,3 lung due to exposures to                         competing risks, the interpretation of HRs from a standard Cox
rubber fumes5 and stomach as associated with rubber dust.5                       proportional hazard approach changes to the hazards of dying if
Nevertheless, measurements of exposures to carcinogenic agents                   no other deaths occurred,21 which is untenable in a cohort with
were only indirectly assessed through employment characteris-                    94.1% mortality rate. Subdistribution HRs (SHRs) are estimated
tics such as job title and work hours.                                           using stcrreg in Stata V.1524 and comparable in interpretation to
   The current study aims to assess the specific association                     proportional HRs in Cox models.25
between cancer mortality and cumulative occupational expo-                          Cumulative exposure was divided into four quartiles and as
sures to rubber dust, rubber fumes and N-nitrosamines with                       a continuous metric to assess linearity of the exposure-response
follow-up of 49 years and a 94% mortality rate.                                  association. Outcomes are mortality from cancers previously
                                                                                 associated with the rubber industry1: all cancers, cancers of the
                                                                                 bladder, lung, stomach, multiple myeloma, leukaemia, larynx,
Materials and methods                                                            oesophagus, prostate, non-Hodgkin’s lymphoma, pancreas,
Population                                                                       brain, liver and in situ, benign or unknown behaviour neoplasms.
We used data from a cohort of male UK rubber factory workers                        Analyses were adjusted for birth year and LCE (in quar-
aged 35 years or older as of 1 February 1967 (n=36 443 from                      tiles) to rubber dust, rubber fumes or N-nitrosamines. Because
381 factories) followed up for mortality to December 2015.                       the baseline mean age of the sample is 50.1 years and median
The median employment start year was 1954 (mean=1951.8,                          ages at death from cancer among males are between ages
IQR 1946–1961). The cohort was set up by the predecessor to                      60 and 75 years26, or 10 and 25 years after the baseline, and a
UK Health and Safety Executive.4 5 17                                            lag or latency period between exposure and cancer development
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has been reported elsewhere,27–31 the analyses used 15-year lags,          For stomach cancer mortality (n=768, 8.4% of all cancer
approximately around the midpoint of median cancer deaths.26            deaths), a linear exposure-response relationship was found for
Analyses without lags for multiple myeloma, non-Hodgkin’s               exposures to NDMA (SHRs up to 1.72 (Q4)) and NMor (SHRs
lymphoma and leukaemia deaths were tested and found lower               up to 1.49 (Q4)). However, this exposure-response relation-
effect sizes but similar directions and p values to lagged analyses.    ship was not supported by the sensitivity analyses. Rather, only
   Sensitivity analyses were conducted with alternative simulated       elevated SHRs for Q3 (NDMA, NMor) and Q4 (NMor) were
employment durations based on information on employment                 consistently found across the simulations. Increased risks were
durations from another, partly overlapping, cohort of British           observed for rubber dust (SHR up to 1.78 Q3)), rubber fumes
rubber factory workers.4 5 32 Ten simulated employment durations        (SHRs up to 1.75 (Q3)) and NSS (SHRs up to 1.78 (Q3)). This
for each worker were generated from log-normal distributions            was supported by the sensitivity analyses.
(mean=2.355, SD=0.470) that for the whole sample had similar               A linear exposure-response association was found for leukaemia
characteristics to this cohort; the 47th percentile of the distribu-    mortality (n=195, 2.1% of all cancer deaths) and NDMA exposures
tion have 10 years of employment and 88th percentile have 18 or         (p for trend <0.001) (SHRs up to 3.47 (Q4)). Plateauing expo-
more years. Log-normal distributions were chosen over other func-       sure-response were found for rubber dust (SHRs up to 2.42 (Q3))
tional forms because they provided the best fit to these parame-        and NSS (SHRs up to 3.08 (Q3)). Increased risks were found for
ters. Lifetime cumulative exposures were subsequently recalculated      rubber fumes (SHRs up to 2.10 (Q3 and Q4)) and NMor (SHRs up
and competing risk survival analyses were performed for each of         to 1.96 (Q4)). Sensitivity analyses results show consistently elevated
the 10 simulated employment durations to allow for assessment           and statistically significant SHRs for Q3 for NSS and Q4 for rubber
of the variability in the SHRs for the LCEs. Sensitivity analyses       dust, rubber fumes and NMor.
were conducted for all cancers and cancers of the bladder, lung,           A linear exposure-response relationship was found for
stomach, myeloma and leukaemia. Results of the primary analyses         multiple myeloma mortality (n=462, 5.1% of all cancer
were mostly supported by the sensitivity analyses, including for all    mortality) with exposures to NDMA (SHRs up to 2.81 (Q4),
malignant neoplasms for all agents.                                     p for linear trend <0.01) and NMor (SHRs up to 1.82 (Q4), p
                                                                        for linear trend <0.01). Sensitivity analyses support this pattern.
                                                                        Plateauing exposure-response was found for rubber fumes
Results                                                                 (SHRs up to 2.12 (Q3), p=0.04 for trend) and NSS (SHRs up
The cohort included 36 441 male workers in the UK rubber                to 2.35 (Q3), p=0.02 for trend). Increased risks were found for
industry followed from 1967 to 2015 with 880 794 person years           rubber dust (SHRs up to 1.99 (Q4)). Sensitivity analyses support
of time at risk and under observation. International Statistical        the patterns for NSS and rubber fumes exposures and partially
Classification of Diseases and Related Health Problems codes and        support NMor (Q4) and rubber dust (Q3 and Q4).
number of deaths are provided in OSM. We describe risk patterns            Increased risks for non-Hodgkin's lymphoma mortality
as absence of exposure-response, linear (in log-space) exposure-re-     (n=141, 1.5% of all cancer mortality) were observed for rubber
sponse (increasing risk in quartiles (Q) 1–4), plateauing expo-         dust (SHR up to 1.68 (Q3)), rubber fumes (SHRs up to 2.27
sure-response (increasing risk in Q1–3, but plateau or reduction        (Q3)), NSS (SHRs up to 2.24 (Q3)), NDMA (SHRs up to 2.26
in Q4), and increased risk without an exposure-response pattern.        (Q4)) and NMor (SHRs up to 1.58 (Q3)).
Bladder cancer mortality represented 4.7% of all cancer deaths             A linear exposure-response relationship for oesophageal
(n=417). The primary analyses (tables 1–2) showed a linear expo-        cancer mortality (n=333, 3.7% of all cancer deaths) as found
sure-response relationship for NDMA (SHRs up to 2.82 (Q4) and           for NMor (SHRs up to 2.25 (Q4), p<0.001 for trend) and
NMor (SHRs up to 2.59 (Q4), plateauing exposure-response for            plateauing exposure-response relationship was found for rubber
NSS (SHRs up to 2.19 (Q3)) and increased risks without expo-            fumes (SHRs up to 2.55 (Q3)). Increased risks were found for
sure-response pattern for rubber dust (SHRs up to 2.56 (Q4)).           rubber dust (SHRs up to 2.26 (Q3)), NSS (SHRs up to 2.42
Sensitivity analyses (online suplementary materials) supported the      (Q3)) and NDMA (SHRs up to 3.04 (Q4)).
primary analyses for all exposures. However, results for Q2 were           Linear exposure-response relationships between prostate
not fully supported by the sensitivity analyses for NDMA where          cancer mortality (n=885, 9.7% of all cancer deaths) and expo-
SHRs ranged from 1.14 (95% CI 0.85 to 1.52) to 1.56 (95% CI             sures to NDMA (SHRs up to 5.36 (Q4)) and NMor (SHRs up
1.18 to 2.06), and for NSS, where SHRs ranged from 1.26 (95% CI         to 2.71 (Q4)) were found. Plateauing exposure-response were
0.95 to 1.68) to 1.51 (95% CI 1.15 to 1.99). Lung cancer mortality      found for rubber fumes (SHRs up to 4.03 (Q3)) and NSS (SHRs
comprised the largest proportion of cancer deaths in the cohort         up to 3.75 (Q3)). Increased risks were found for rubber dust
at 37.1% (n=3377). A linear exposure-response relationship was          (SHRs up to 3.37 (Q3)).
found for exposures to rubber dust (SHRs up to 1.44 (Q4)). Sensi-          Results for laryngeal cancer mortality (n=62, 0.7% of all
tivity analyses supported this exposure-response pattern where Q4       cancer deaths) show elevated SHRs for all exposures, but did
SHRs ranged from 1.21 (95% CI 1.10 to 1.33) to 1.27 (95% CI             not achieve statistical significance, except for NSS (Q3).
1.15 to 1.39), which is within the 95% CI of the primary anal-             Results for brain cancer mortality (n=106, 1.2% of all cancer
ysis (1.31 to 1.58). Increased risks were found for NDMA expo-          deaths) show plateauing exposure-response relationships for
sure (SHRs up to 1.70 (Q4)). Plateauing exposure-response was           NMor (SHRs up to 3.16 (Q3)), elevated SHRs in Q3 for rubber
observed for rubber fumes (SHRs up to 1.55 (Q3)), NSS (SHRs             dust (SHR 2.22) and Q4s for NSS (SHR 1.75) and NDMA (SHR
up to 1.60 (Q3)) and NMor (SHRs 1.19 (Q2 and Q3)). Sensitivity          2.50).
analyses support the exposure-response patterns observed for the           A linear exposure-response relationship was found for pancre-
primary analyses (OSM). Other differences between SHRs in the           atic cancer mortality (n=328, 3.6% of all cancer deaths) and
sensitivity and primary analyses were minimal with the largest          NMor (SHRs up to 1.96 (Q4)). Plateauing exposure-response
difference found was for NDMA Q4 where primary analysis                 relationship was found for rubber fumes (SHRs up to 2.48 (Q3))
SHR=1.70 (95% CI: 1.41 to 2.10) and sensitivity analyses SHRs           and increased risks without a trend were found for rubber dust
range from 1.40 (95% CI 1.27 to 1.54) to 1.46 (95% CI 1.32 to           (SHRs up to 2.00 (Q3)), NDMA (SHRs up to 2.60 (Q4)) and
1.60).                                                                  NSS (SHRs up to 2.20 (Q2)).

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  A linear exposure-response relationship between liver cancer                   rubber workers in the UK. With a nearly entirely deceased
mortality (n=122, 1.3% of all cancer deaths) and exposures                       cohort, these analyses provide the most precise and complete
to NDMA (SHRs up to 2.86 (Q4)) were observed. Plateauing                         lifetime risks from exposures encountered in the rubber manu-
exposure-response was found for NMor exposure (SHRs up to                        facturing industry. Second, instead of qualitative information
1.91 (Q3)). Increased risks were found for rubber dust (SHRs up                  on jobs, exposure assessments from a quantitative job-exposure
to 3.40 (Q4)), rubber fumes (SHRs up to 3.35 (Q3)) and NSS                       matrix19 based on historic exposure measurements previously
(SHRs up to 3.20 (Q3)).                                                          collated in the EXASRUB database18 were used.
                                                                                    Aside from these strengths, several limitations exist in this
                                                                                 study. Information regarding individual employment histories
Discussion                                                                       were unavailable before 1967 and during the follow-up period.
This study examined cancer mortality risks associated with occu-                 As such, the main analysis assumed continuous employment
pational exposures to rubber dust, rubber fumes and nitrosa-                     until retirement at age 70, emigration or death. To address
mines in a large occupational cohort of UK rubber manufacturing                  this limitation, we conducted sensitivity analyses with varying
workers with 49 years of follow-up (880 794 person years). We                    employment durations, which supported the main results of this
found increased risks associated with cumulative exposures to                    study in all but a few instances. Differences observed between
rubber dust, rubber fumes and N-nitrosamines, which can be                       the results of the main analyses and the sensitivity analyses
attributed to the unique combination of very long follow-up of                   imply that results for low incidence cancers such as leukaemia
the cohort, 94% mortality and selection of the exposures based                   (n=195) are more sensitive than high-incidence cancers such as
on prior knowledge on carcinogenicity.1                                          lung cancer (n=3377) to the length of occupational exposure to
   Linear exposure-response relationships were found for                         each agent, which is further dependent on employment dura-
cumulative exposure to NDMA (bladder, stomach, leukaemia,                        tion. Second, we assumed a 15-year lag between exposure and
multiple myeloma, prostate, liver), NMor (bladder, stomach,                      clinical manifestation of the cancer. However, these lags are not
multiple myeloma, oesophagus, prostate, pancreas) and                            uniform across all cancers and are generally somewhat shorter
rubber dust (lung). Plateauing exposure-response relationships                   for bloodborne cancers.35 Nonetheless, as an overall approxima-
were found for rubber dust (leukaemia), rubber fumes (lung,                      tion 15 years seems appropriate. Third, although some cancers
leukaemia, multiple myeloma, oesophagus, prostate, pancreas),                    are less fatal than others and this study used underlying cause
NSS (bladder, lung, leukaemia, multiple myeloma, prostate) and                   of death from the death certificate without any cancer inci-
NMor (lung, brain, liver). Increased risks were found for rubber                 dence data, some cancers may have been undercounted and
dust (bladder, stomach, multiple myeloma, non-Hodgkin’s                          comparison to cancer mortality in the general population would
lymphoma, oesophagus, prostate, pancreas, brain, liver), rubber                  yield lower rates. However, results for selected cancers from
fumes (bladder, stomach, leukaemia, non-Hodgkin’s lymphoma,                      SMR analyses of the same data33 showed either higher cancer
liver), NSS (stomach, non-Hodgkin’s lymphoma, brain, liver),                     mortality or no difference from the general population. Fourth,
NDMA (lung, non-Hodgkin’s’ lymphoma, oesophagus, brain,                          information on important confounders such as smoking and
pancreas) and NMor (leukaemia, non-Hodgkin’s lymphoma).                          other lifestyle factors were unavailable, although additional
Occupational exposures were not associated with laryngeal                        simulations indicated smoking was unlikely to be a significant
cancer mortality.                                                                confounding factor. Fifth, the cohort was subject to selection
   Exposure-response associations between occupational expo-                     effects at recruitment because workers had to survive until age 35
sures to nitrosamines and mortality from oesophageal and pros-                   to be included in the cohort. Sixth, the JEM provides estimates
tate cancers have been reported previously.8 11 We additionally                  of average exposure for workers which introduces measurement
observed increased stomach cancer risks with NDMA and NMor,                      error in individual assessments. However, group-based exposure
in contrast to several studies8 11 and consistent with others.10 33              assessment generally leads to Berkson-type rather than clas-
   Although this study found exposure-response associations                      sical measurement error, which results in attenuation of expo-
between lung cancer mortality and occupational exposure to                       sure-response associations rather than biased results.36 Finally,
rubber dust and elevated risks associated with rubber fumes,                     cross-contamination between departments could not rule out the
NSS, NDMA and NMor, several previous studies did not                             need for multipollutant models, but given the high correlations
observe associations between lung cancer mortality and N-nitro-                  between exposures this requires different and complex statistical
samine exposure8 10 11 and others found inconsistent evidence on                 modelling, with currently unknown validity in this context.
associations with rubber dust.7 8 It is possible that these results
are capturing effects of smoking on lung cancer mortality rather
than occupational exposures because individual smoking histo-                    Conclusions
ries were unavailable. To obtain some indication of the possible                 In summary, we examined the exposure-response association
confounding effect of smoking in this cohort, we used a statistical              between occupational exposures to rubber dust, rubber fumes and
external adjustment method.34 External Monte Carlo analyses                      nitrosamines with cancer mortality in a cohort of 36 441 UK rubber
based on information on smoking prevalence, ex-smokers and                       factory workers with a follow-up from 1967 to 2015. Consistent
never smokers from a cohort of rubber industry entrants after                    with previous studies, N-nitrosamines exposures in the rubber
198218 indicated that mean bias is only 1.6% compared with the                   industry, were associated with mortality from cancers of the bladder,
general population. To achieve as much as 10% (attenuating)                      lung, stomach, leukaemia, multiple myeloma, oesophagus, prostate,
bias internally, 12%–14% more smokers and 12%–14% fewer                          pancreas and liver. We also found linear exposure-response asso-
never smokers would have to be present in Q4 compared with                       ciations where the highest exposures to NMor more than double
Q1 (data not shown), which seems unlikely; suggesting that                       the risks for mortality from cancers of the bladder, oesophagus and
confounding by smoking in this cohort was likely not a signifi-                  prostate, similarly to the highest exposures of NDMA and cancers
cant confounding factor.                                                         of the bladder, leukaemia, multiple myeloma, prostate, liver. Linear
   There are several strengths to this study. First, the 49-year                 exposure-response relationships resulting in modest increased risks
follow-up period constitutes the longest in cohort studies of                    were also found for exposures to NMor and cancers of the stomach,
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